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                      UNITED STATES COURT OF APPEALS
                           FOR THE THIRD CIRCUIT
                                ___________

                                    No. 18-3271
                                    ___________

                                CRYSTAL STARNES

                                          v.

      BUTLER COUNTY COURT OF COMMON PLEAS, 50th Judicial District;
                    THOMAS DOERR, individually;
                   THOMAS HOLMAN, individually

                                    Thomas Doerr,
                                          Appellant

                                    ___________

                   On Appeal from the United States District Court
                      for the Western District of Pennsylvania
                              (D.C. No. 2-17-cv-01304)
                      District Judge: Honorable Cathy Bissoon
                                    ___________

                           Argued April 22, 2020
           Before: HARDIMAN, RENDELL, and FISHER, Circuit Judges.


                                    JUDGMENT


      This cause came on to be considered from the United States District Court for
Western District of Pennsylvania and was argued on April 22, 2020. On consideration
whereof, it is now hereby


        ORDERED and ADJUDGED that the order of the United States District Court for
the Western District of Pennsylvania entered on October 4, 2018 is hereby AFFIRMED
in part and REVERSED in part. All of the above in accordance with the Opinion of this
Court.
        Case 2:17-cv-01304-CB Document 64 Filed 08/24/20 Page 2 of 2




      No costs shall be taxed.


                                         ATTEST:


                                         s/ Patricia S. Dodszuweit
                                         Clerk
Dated: August 24, 2020




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